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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                       Case No.: 12-cv-60460-MIDDLEBROOKS-HUNT


   UNITED STATES OF AMERICA,

         Plaintiff,

   v.

   THE STATE OF FLORIDA,

         Defendant.

                                       /

                         THE UNITED STATES OF AMERICA’S
                      MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                            INTRODUCTION
             “Our children are being forgotten. We’re being left behind.” – Parent of an At-Risk
   Child.1
             The State of Florida discriminates against children with long-term care needs in violation
   of Title II of the Americans with Disabilities Act (ADA). This litigation was brought to enforce
   the civil rights of two intertwined populations—children who are in serious danger of falling
   through the cracks of the State’s ineffective community-based service system (At-Risk
   Children), and those who have already been relegated to spending their childhoods in nursing
   facilities (Institutionalized Children). The Institutionalized Children, who are capable of living
   at home with their families or in non-institutional, homelike settings, instead spend their
   formative years in nursing facilities, without the opportunity to be nurtured by their parents, bond
   with their siblings and friends, or interact with the community outside the facility’s walls.
   Throughout the State, the At-Risk Children and their families struggle invisibly, faced with the
   threat of unnecessary institutionalization due to the State’s failure to provide reliable home
   nursing and effective care coordination. Without the benefit of nursing and other services to
   which their children are entitled by law, parents and guardians must devote themselves full-time
   to caring and advocating for their children, often at tremendous cost to their own physical,
   mental, and financial well-being.
             It does not have to be this way. The State of Florida already has the program
   infrastructure in place to provide these children with the services they need to live in the
   community. By making only modest changes to its administration of services, the State could
   ensure that every child with long-term care needs has access to home and community-based
   services.
             In Olmstead v. L.C., the Supreme Court affirmed that Title II prohibits “undue
   institutionalization” as a form of disability discrimination by state and local governments. 527
   U.S. 581, 598 (1999). The Supreme Court clarified that the ADA requires public entities to
   provide community-based services for persons with disabilities when: (a) such services are
   appropriate to their needs, (b) the affected persons do not oppose community-based treatment,
   and (c) community-based services can be reasonably accommodated, considering the resources



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       Declaration of Lindsey Weinstock (“Decl.”) ¶ 42; Ex. 39 at 34:12-32:13.
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   available to the public entity and the needs of other persons with disabilities. Olmstead, 527 U.S.
   at 607; see 42 U.S.C. § 12132.
          The population of Institutionalized Children consists of approximately 140 children and
   young adults with disabilities currently living in nursing facilities in Florida, and receiving State
   Medicaid-funded services there. These individuals could live in more integrated settings,
   supported by services that already exist in the State’s system. Their parents and guardians
   overwhelmingly do not oppose such placement—in fact, many desperately want to bring their
   children home. Yet the State limits the Institutionalized Children’s access to the services
   necessary to make this a reality. The same State-imposed limits on access to services mean that
   hundreds of children living in the community who are eligible for home and community-based
   services (the At-Risk children) cannot access the services they need to remain with their families.
          The State limits access to services the Institutionalized and At-Risk Children need to
   move to and remain in their homes and communities in several ways. First, the State limits
   access to private duty nursing (PDN) services, which are in-home nursing services. Though the
   State is required to provide Medicaid-eligible children with all PDN authorized as medically
   necessary for them, fewer than seven out of every 100 children in Florida receive all their
   medically necessary PDN, and over half receive less than 80% of their PDN. Families unable to
   access the in-home nursing services their children need have resorted to placing or keeping their
   children in nursing facilities so they can receive needed care. Families whose children remain in
   the community have lost jobs and foregone sleep in the absence of authorized nursing services
   for their children, in order to keep them at home.
          Second, the State limits access for Institutionalized and At-Risk Children to its Medicaid
   waiver program for persons with developmental disabilities (the iBudget waiver). The purpose
   of this program is to help eligible people with disabilities, including children with complex
   medical needs, avoid institutionalization by providing them home and community-based
   services. But the State maintains a waitlist for this program of more than 22,000 individuals.
   Some children living in nursing facilities have waited for years for the opportunity to receive
   waiver services in their communities.
          Third, the State fails to maintain sufficient capacity in its Medical Foster Care program to
   prevent the unnecessary institutionalization of children with disabilities. This program offers
   care in a family home to children with complex medical needs who are in the foster care system.

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   As a result of the State’s failure to maintain sufficient capacity in this program to serve eligible
   children who would otherwise be institutionalized, children with disabilities are living in nursing
   facilities while waiting to access the program. In addition, this family-based setting is only
   available to children who are in the custody of the State. Families who are unable to have their
   child live at home with them cannot access Florida’s family-based service alternative to
   institutional nursing facilities without surrendering custody.
           Finally, the State fails to provide families with the information they need to understand
   their home and community-based service options, and the assistance they need to access those
   services for their children. Without this critical information and assistance, families are left to
   navigate persistent service gaps in the community without meaningful help, and some have
   resorted to institutionalization as a result.
           The State need only expand its existing services to address these failures and give
   families a meaningful choice as to whether their children will receive services at home or in
   nursing facilities. The State does not contend that making such reasonable modifications would
   be infeasible or so expensive as to fundamentally alter its service system. Nor does it have a
   plan to address any of the limitations it places on access to home and community-based services
   for children with complex medical needs.
           In the decade since this litigation was initially filed, the State has had ample opportunity
   to make the changes that are required to prevent the unnecessary institutionalization—and
   serious risk of unnecessary institutionalization—of children with medical complexity. Without
   intervention, Florida’s Institutionalized Children will continue to needlessly be admitted to, and
   grow up in, institutions, separated from their families and communities, and Florida’s At-Risk
   Children will continue to live on the brink of institutionalization, at unthinkable financial and
   emotional cost to their families. Accordingly, this Court should hold the State liable for its
   failure to provide services to children with complex medical needs in the most integrated setting
   appropriate to their needs.
                                                   FACTS
   I.      The Institutionalized and At-Risk Children
           This case is about the State’s discriminatory administration of its service system for
   children with complex medical needs (also known as “children with medical complexity”).
   Children with medical complexity are under twenty-one years old and have disabilities resulting


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   in their need for medical services on a daily basis. U.S. Statement of Material Facts (“SOMF”) ¶
   1. Children with medical complexity may have different reasons that they need medical services,
   but as a group, they have shared medical care needs and common patterns of health care service
   use. They typically rely on services from multiple service providers for health care and for
   “activities of daily living” like bathing and dressing (ADLs). Id. ¶ 2. Children with complex
   medical needs commonly use technology or equipment for communication, mobility, breathing,
   eating, and other tasks, including feeding tubes, breathing tubes, ventilators, and wheelchairs. Id.
   ¶ 3. Nursing is a core health care service used by children with complex medical needs to
   support their daily living. Id. ¶ 4. In addition to home nursing, children may also require
   therapies, including physical, occupational, and speech therapies. Id.
          Because families of children with complex medical needs must navigate complex
   systems of health care services and insurance coverage in order to obtain services and equipment
   the children need, they also require care coordination services. Care coordinators, or case
   managers, inform families about available service programs and provider options, assist families
   in applying for and obtaining needed services, create and maintain plans of care, and coordinate
   communication with different care providers. SOMF ¶ 5.
          Children with medical complexity have a range of care and service needs, as described
   above, which frequently render them eligible for medical insurance coverage through state
   Medicaid programs. See Declaration of Lindsey Weinstock (“Decl.”) ¶ 9; Ex. 6.
          The State’s discriminatory administration of its Medicaid service system impacts two
   specific groups of children with complex medical needs in Florida: Institutionalized Children and
   At-Risk Children. The Institutionalized Children are the approximately 140 children and young
   adults with complex medical needs residing in three pediatric nursing facilities in Florida.
   SOMF ¶ 59. The Institutionalized Children receive State Medicaid-funded nursing facility
   services, but, as described further below, could live in more integrated settings. The At-Risk
   Children are the more than 1,800 children with complex medical needs who are eligible for but
   unable to access, due to the State’s failures described further below, the home and community-
   based services they need to remain in their homes and communities. Id. ¶ 63.
          The undisputed facts regarding the Institutionalized and At-Risk Children are both
   voluminous and child-specific. The three expert physicians who evaluated the medical
   appropriateness of Institutionalized Children to live in the community did so by collectively

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   reviewing the medical and psychosocial records of all 139 children who were residing in the
   three pediatric nursing facilities at the time of the record subpoenas. Decl. ¶ 5; Ex. 2 at 1
   n.1. The medical experts further conducted outreach to the families of all Institutionalized
   Children and were able to conduct interviews of 44 families. Decl. ¶ 6; Ex. 3 at 2. Using
   qualitative research methods generally accepted and preferred in this type of health care research,
   the United States’ experts concluded that the same themes they encountered in their 44
   interviews would emerge in interviews with additional families of Institutionalized Children.
   Decl. ¶ 5; Ex. 2 at 9-10; Decl. ¶ 6; Ex. 3 at 10-11; Decl. ¶ 7; Ex. 4 at 98:15-99:16. The United
   States also obtained deposition testimony from ten families, including parents of Institutionalized
   Children, parents of At-Risk Children, and one individual who was herself, until very recently,
   an Institutionalized Child, and is now an At-Risk Child. The United States also provided, in its
   interrogatory responses, voluminous citations to records and interviews containing facts specific
   to sixteen At-Risk Children as well as the entire population of Institutionalized Children. Decl. ¶
   20; Ex. 17 at 25-161. Finally, the United States produced a corporate designee who provided
   detailed, child-specific testimony based on the factual record about 137 Institutionalized
   Children.
   II.    The State’s Medicaid Program and Services for Children with Complex Medical
          Needs
          The State, through its Medicaid program, has created a system of services through which
   children with complex medical needs receive necessary health care, therapies, medical
   equipment, technology and adaptive equipment, and assistance with activities of daily living.
   Medicaid is a program that is jointly funded by the state and the federal government and provides
   medically necessary services to eligible recipients. SOMF ¶ 6. States that participate in the
   Medicaid program, as Florida does, must develop a State Plan, which details the nature and
   scope of the state’s Medicaid program. SOMF ¶ 7; 42 C.F.R. § 430.10. A State Plan may
   include any or all of 29 Medicaid services listed in federal statute. 42 U.S.C. §§ 1396a(a),
   1396d(a).
          States are required by the Medicaid Act to provide all of these state plan services, when
   medically necessary, to all Medicaid-enrolled children (i.e., individuals under 21 years old) in
   the state. 42 U.S.C. §§ 1396a(a)(43), 1396d(a), 1396d(r)(5); SOMF ¶ 8. Each state defines its
   own “medical necessity” criteria and creates and administers procedures for Medicaid recipients
   to apply for services, and for the determination of whether such services are medically necessary.
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   See 42 U.S.C. § 1396a(a)(17); see SOMF ¶ 10. If the State or its contracted entities determine
   services to be medically necessary, the services are authorized and must be provided. SOMF ¶
   11.
          Florida’s Agency for Health Care Administration (AHCA) is responsible for
   administering the State’s Medicaid program. See Fla. Stat. §§ 20.42, 409.902; SOMF ¶ 12. The
   State delivers Medicaid services to most Florida Medicaid recipients through its Statewide
   Medicaid Managed Care (SMMC) program, which AHCA administers. See Fla. Stat. § 409.965.
   Under the SMMC program, the State contracts with private managed care organizations to
   provide medical and long-term care services to eligible recipients. SOMF ¶ 14.
          One of the insurance plans under the SMMC program, the Children’s Medical Services
   Health Plan (CMS Plan), is a “specialty plan” geared toward providing children with special
   healthcare needs with medical and long-term care services. Decl. ¶ 66; Ex. 63 at FL11380063,
   FL11380084. Children with medical complexity are children with special health care needs.
   Decl. ¶ 66; Ex. 63 at FL11380062-63. The Florida Department of Health partners with a private
   managed care organization to operate the CMS Plan. SOMF ¶ 15.
          The Florida Medicaid program covers services for children with complex medical needs
   in both institutional and non-institutional settings. SOMF ¶ 19. Three nursing facilities in the
   State provide Medicaid services, including nursing and therapies, to children with complex
   medical needs, reimbursed by Medicaid at a rate of up to $679 per day. Id. ¶ 20.
          Before a child is admitted to a nursing facility, and periodically thereafter, the State
   requires that a Children’s Multidisciplinary Assessment Team (CMAT), which consists of
   representatives from a number of State agencies, including AHCA, APD, DOH, FLCMS, DCF,
   and (if applicable) the child’s managed care plan, meet and make a recommendation regarding
   that child. See Fla. Admin. Code R. 59A-4.1295(3)(b). In particular, the CMATs determine
   whether each child meets the level of care criteria for nursing facility admission. See Fla.
   Admin. Code R. 59A-4.1295(3)(a), (b); SOMF ¶ 22. According to State internal procedures,
   CMATs must use a “family-centered” approach to “facilitate appropriate service delivery,” and
   “provide information about alternatives.” SOMF ¶ 23. There are 10 CMATs in the State. Decl.
   ¶ 24; Ex. 21 at 63:2-15.
          Florida Medicaid also covers services provided in children’s homes and communities,
   when authorized as medically necessary. Indeed, the State is required to provide all medically

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    necessary services covered by the Medicaid program to Medicaid-enrolled children with
    complex medical needs. 42 U.S.C. §§ 1396a(a)(43), 1396d(a), 1396d(r)(5); SOMF ¶ 25. These
    services include in-home nursing services known as private duty nursing (PDN); durable medical
    equipment; physical, occupational, speech, and respiratory therapies; and, in Florida, Medical
    Foster Care (which is described further below). 42 U.S.C. §§ 1396a(a), 1396d(a), 1396d(r)(5);
    SOMF ¶ 26.
            The State also offers care for children with complex medical needs in the community
    through its Medical Foster Care program. The purpose of this program is to enable children with
    “medically-complex conditions whose parents cannot care for them in their own homes, to live
    and receive care in foster homes rather than in hospitals or other institutional settings.” SOMF ¶
    27. The State’s CMATs determine children’s eligibility for Medical Foster Care. Id. ¶ 28.
    Medical Foster Care is a program that benefits children with medical complexity by allowing
    them to live with families, and have foster parents who are consistent caregivers. Id. ¶ 29. DOH
    trains medical foster parents to provide medical care to their children with complex medical
    needs. Id. ¶ 30. Medical foster parents are reimbursed up to $76.99 per day by Medicaid for
    medically necessary services rendered to meet the medical needs of foster children in their care.
    Id. ¶ 31. Medical Foster Care enables children with medical complexity to live in a less
    restrictive setting than a nursing facility. Id. ¶ 29 (citing Decl. ¶ 16; Ex. 13 at 13).
            The State also offers home and community-based services through Medicaid waiver
    programs. The federal Medicaid Act permits states to request waiver of certain of its
    requirements to offer a variety of community-based services to individuals with disabilities. See
    42 U.S.C. § 1396n(c). The State’s Agency for Persons with Disabilities (APD) administers the
    State’s Home and Community Based Services (HCBS) waiver program for individuals with
    developmental disabilities, called the “iBudget” waiver. See Fla. Stat. § 20.197. This program
    enables individuals aged three and older with intellectual or other developmental disabilities to
    access long-term, flexible services outside of institutional settings, including a range of health
    and support services in the community. SOMF ¶ 33. Through this program, the State has
    chosen to provide services and supports to children with complex medical needs that are not
    accessible through other State programs, including home modifications for accessibility, respite
    care, and funding to support individuals who live in community-based settings other than their



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    family home. SOMF ¶ 35. Children with complex medical needs over the age of three who also
    have developmental disabilities are eligible for the iBudget waiver program. SOMF ¶ 34.
    III.   The State Limits Access to Home and Community-Based Services Needed by
           Children with Complex Medical Needs
           A. The State Controls Children’s Access to Medicaid Services and Settings
           Because the State is responsible for structuring and administering its own Medicaid
    program, the State controls the level of access children with complex medical needs have to the
    Medicaid services they need to live in their homes and communities. It exercises this control in a
    number of ways, including the following.
           First, the State is responsible for ensuring that its managed care plans fulfill the State’s
    obligation to provide Medicaid-enrolled children with medical complexity with all medically
    necessary private duty nursing, durable medical equipment, therapies, and other services
    coverable under the State Plan. SOMF ¶ 36; see Fla. Stat. § 409.967. The State has elected to
    contract with private managed care plans to determine whether services will be authorized, using
    the State’s medical necessity criteria, as well as to provide all such authorized services, by
    contracting with service providers such as home health agencies. SOMF ¶ 37. But the State
    determines the manner in which its contracted managed care plans will deliver services to
    children with complex medical needs, and has control over managed care plans’ methods of
    ensuring capacity for community-based services, including by establishing standards for
    adequacy of managed care plans’ service provider networks. See, e.g., Fla. Stat. §§ 409.963
    (designating AHCA as the single state agency responsible for management, operation, and
    payment for services delivered through the SMMC program); 409.967(2)(c) (requiring AHCA
    to, inter alia, “establish specific standards for the number, type, and regional distribution of
    providers” delivering services to SMMC recipients); 409.973 (describing Medicaid services to be
    made available through managed care plans); 409.98 (describing Medicaid services to be made
    available through long-term care plans). The State also commits, in its Medicaid State Plan, to
    monitor managed care plan performance to ensure access to care and services. The State Plan
    and Florida’s contracts with managed care plans provide mechanisms, including sanctions, that
    the State can use to ensure plans’ accountability for complying with the contracts’ terms. Under
    these contracts, managed care plans must take any and all actions, including using financial
    incentives, to ensure access to care and an adequate provider network. SOMF ¶ 46.


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           Second, AHCA also controls the Florida Medicaid program’s ability to provide sufficient
    services in home and community-based settings through, among other things, licensing qualified
    providers and setting fee-for-service rates paid to reimburse them for services provided. See,
    e.g., Fla. Stat. §§400.062 (establishing licensure requirements for nursing facilities through
    AHCA); 400.464 (establishing licensure requirements for home health agencies through AHCA);
    409.908 (describing available reimbursement methodologies for Medicaid providers); Fla.
    Admin. Code R. 59G-4.002(3)(aa) (establishing fee schedule for private duty nursing services
    effective Jan. 1, 2022).
           Third, the State controls the capacity of its iBudget waiver program to serve all eligible
    children with complex medical needs. The State, as permitted under federal law, has elected to
    cap the number of individuals who may receive services under the iBudget waiver. SOMF ¶ 49.
    The State manages the waiting list for the waiver program by setting and implementing
    categories of priority for enrollment from the waiting list. See Fla. Stat. 393.065(5); SOMF ¶ 50.
           Fourth, the State controls whether it has sufficient non-institutional out-of-home
    placement settings available in which children with complex medical needs can receive needed
    care. Specifically, the State is responsible for ensuring sufficient capacity in its Medical Foster
    Care program. The State has responsibility both for setting Medicaid reimbursement rates for
    Medical Foster Care providers, as well as for recruitment efforts that enlist Medical Foster Care
    parents.
           Finally, the State controls the programs and services through which families of children
    with complex medical needs learn about the options they have for where their children can live
    and receive needed services, and receive assistance in obtaining needed services for their
    children. Specifically, the State operates the CMATs, which conduct assessments of children’s
    needs and serve as a point of contact between the State and families of children who have been
    or are about to be admitted to nursing facilities. The State also regulates and oversees the care
    and discharge planning for children residing in nursing facilities, and requires managed care
    plans to provide care coordination for these children as well as for children with complex
    medical needs living in the community. See Fla. Admin. Code R. 59A-4.1295; SOMF ¶¶ 54-55.
    The State is responsible for oversight and monitoring of this essential service so that it operates
    as intended, to allow families and children to receive the information they need to make
    informed decisions regarding care, and to get the services and support they need. SOMF ¶ 56.

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           B. The State Limits Access to Private Duty Nursing
           Private duty nursing (PDN) is an essential service for children with medical complexity.
    It is also a service the State is required to provide when medically necessary. SOMF ¶ 64. Yet
    fewer than seven out of every 100 children in Florida receive all the PDN hours deemed
    medically necessary for them. Id. ¶ 65. Specifically, according to the most recent annual data
    that Florida’s managed care organizations reported to the State, approximately 93.5%, or more
    than 1,800 children, are receiving less than their authorized amount of PDN. Id. ¶ 67.
    Moreover, the data show that children are missing more than just a few hours here or there, with
    over half (approximately 58%) of children receiving less than 80% of authorized PDN, and over
    a quarter (approximately 27%) receiving less than 60% of authorized hours. Id. ¶¶ 68-69. In
    only six of Florida’s 67 counties is the State providing children with medical complexity more
    than 80% of authorized PDN services. Id. ¶ 71. In only one of these six counties are more than
    10 children being served. Id. ¶ 72.
           Home health agencies’ difficulties staffing children’s authorized PDN hours is a reason
    why children cannot receive all their authorized PDN. SOMF ¶¶ 75-76.
           The State has acknowledged its responsibility to ensure provision of all medically
    necessary services, including PDN, and its expectation that its managed care plans will fulfill
    their contractual obligation to provide all authorized PDN. SOMF ¶¶ 8, 25; see also Decl. ¶ 31;
    Ex. 28 at 155:19-156:3. The State has the authority and the tools to increase access to PDN,
    such as by setting standards to ensure an adequate network of service providers, increasing
    reimbursement to home health agencies providing the service, and effectively monitoring gaps in
    access to PDN and holding managed care plans accountable for failing to provide medically
    necessary services. Yet it fails to use them. SOMF ¶¶ 40-42, 45, 48, 77-78.
           C. The State Limits Access to iBudget Waiver Services
           The State renders its iBudget waiver program inaccessible to thousands of people with
    disabilities due to its waiting list. The iBudget waiver has a waiting list of more than 22,000
    individuals—people with disabilities who have been determined eligible to receive waiver
    services that prevent institutionalization, but who must wait to receive them. See Fla. Stat. §
    393.065(5); SOMF ¶¶ 81-82. As of January 1, 2022, there were more than 9,500 children on the
    waiting list, and as of September 6, 2022, by one measure, more than 600 children with complex
    medical needs were waiting for waiver services. SOMF ¶¶ 83-84. As is typical for people on

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    the waiting list for the iBudget waiver, many eligible children with complex medical needs have
    spent years waiting to enroll in the program and receive needed services in their communities.
    Id. ¶ 85.
            D. The State Limits Access to Medical Foster Care
            The State’s policy preference is to place eligible children in Medical Foster Care rather
    than in institutions. SOMF ¶ 90. Despite this, and although the State identifies Medical Foster
    Care as an alternative to institutional settings for children whose families cannot care for them in
    their own homes, this option is limited in two ways. First, the State fails to maintain sufficient
    capacity in the program. The program thus carries a waiting list. Id. ¶ 91. An average of
    approximately 40 children in State custody have been determined to be eligible for Medical
    Foster Care and are waiting for an appropriate placement. Id. ¶ 92. AHCA pays Medical Foster
    Care parent providers a daily reimbursement rate to provide this critical service; before July
    2022, these rates had not changed since the inception of the program in the early 1990s. Id. ¶ 95.
    In July 2022, after decades with no reimbursement change, an increase was implemented of up to
    $9.09 per day. Id. ¶ 96. And while the State is responsible for recruiting sufficient Medical
    Foster Care providers to meet the need for the service, the record evidence shows that the State
    has not thus far, and has no plans to, conduct recruitment that specifically targets providers who
    can meet the needs of the children waiting for the service. Id. ¶¶ 52, 94.
            Second, the State limits access to Medical Foster Care such that parents and guardians
    who are unable to have their children live at home with them but who can and want to retain
    custody of their children, cannot use the program. SOMF ¶ 97.
            E. The State Limits Access to Home and Community-Based Services by Failing to
               Ensure Families are Provided Adequate Information about Options and Assistance
               with Obtaining Needed Community-Based Services
            The State administers CMATs, in which State agency representatives meet for all
    children admitted to nursing facilities and invite their families to participate, and dictates that the
    CMATs use a “family-centered” approach to “facilitate appropriate service delivery,” and
    “provide information about alternatives.” See Fla. Admin. Code R. 59A-4.1295(3)(b); SOMF ¶¶
    21-23. Yet, CMATs assessing children for nursing facility services do not in practice provide
    individualized information about, or meaningful opportunities to explore, options other than
    nursing facility placement. SOMF ¶ 100.


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           The State has also failed to ensure that families receive adequate information about
    community service options and adequate assistance in obtaining needed community services
    through care coordination or through nursing facility discharge planning. As an initial matter,
    despite its obligation to monitor the care coordination services provided to children with
    complex medical needs through managed care plans, SOMF ¶ 56, the State does not use data and
    information it collects and has access to in order to evaluate whether care coordination is
    fulfilling its function. Id. ¶ 110. Indeed, while DOH does review the reporting submitted by the
    private managed care organization operating the Children’s Medical Services managed care plan,
    it does so only for a sample of children, and even with such limited review, it has found
    significant inadequacies in the records and reporting. Id. ¶¶ 101-103. In addition, despite its
    obligation to oversee nursing facility discharge planning, the State does not appear to impose any
    specific standards for, or oversee in any way, whether nursing facilities are providing adequate
    information and assistance to families to facilitate discharge and address any barriers to
    discharge. Id. ¶¶ 104-106.
           Families of children admitted to nursing facilities have frequently reported that they were
    not made aware, by care coordinators or nursing facility staff, of community-based service
    options. SOMF ¶ 107. Families of children admitted to nursing facilities, as well as families of
    children living in the community, also testified that care coordinators provide little assistance in
    identifying or applying for needed services, including identifying and arranging for services to
    facilitate nursing facility discharge, or in addressing gaps in medically necessary services in the
    community. Id. ¶¶ 108-109.
    IV.    Children with Disabilities Are Unnecessarily Institutionalized and at Serious Risk of
           Unnecessary Institutionalization Because of the State’s Limits on Home and
           Community-Based Services
           The undisputed facts show the impact of the State’s failures on families of children with
    complex medical needs. Further, the undisputed facts show that nursing facilities are segregated
    settings; that the Institutionalized and At-Risk Children are appropriate for community
    placement; and that their families do not oppose community placement. Finally, the undisputed
    facts in the record show that the State can make modest changes to its existing system of services
    for children with complex medical needs that would ensure children’s access to adequate home
    and community-based services.



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           A. The State’s Limits Have Caused Unnecessary Institutionalization and Serious Risk
              of Such Institutionalization
           Many parents of children with complex medical needs have resorted to nursing facility
    placement because their children could not access the nursing care they needed at home. For
    example, one mother deposed by the State was asked, “what was the catalyst or . . . the factor or
    the decision that you made to put [your child] at Kidz Korner [a skilled nursing facility]?” She
    responded, “Mostly unreliable nursing.” SOMF ¶ 116. Other parents also found that inability to
    access approved PDN played a role in their children’s institutionalization; staffing gaps meant
    they had to provide nursing care and coverage themselves, missing work and losing sleep as a
    result. Facing job loss and adverse health effects, they resorted to nursing facility placement. Id.
    ¶ 117. The inability to access in-home nursing also acts as a barrier for families wishing to
    transition their children home from nursing facilities. SOMF ¶ 119; Decl. ¶ 13; Ex. 10 at 45
    (“The DOJ experts rightly noted the lack of reliable home nursing may be a barrier to discharge
    to a community setting for some families…”). Confirming these experiences, nursing facility
    representatives also testified that the difficulty of accessing in-home nursing services contributes
    to children’s admission to nursing facilities, and serves as a barrier to children’s discharge from
    nursing facilities. SOMF ¶ 119.
           The same barriers to accessing home nursing are experienced by children living in the
    community; their parents are missing work or losing or foregoing employment, and unable to
    sleep, while filling in gaps in approved Medicaid nursing services for their children. SOMF ¶
    128. These burdens are not sustainable for many in the long term, and if parents could no longer
    provide this care, their children risk institutionalization in lieu of services. SOMF ¶ 129.
           The State’s failure to provide sufficient access to its Medical Foster Care program has
    also led to children’s admission to nursing facilities, and stands as a barrier to discharge for
    some. Though the State prioritizes Medical Foster Care placement for children in its custody
    who have complex medical needs, the State has resorted to institutionalizing some of these
    children. See SOMF ¶ 120. The State’s CMATs have deemed these children eligible for
    Medical Foster Care, and the State has placed them on a waiting list for Medical Foster Care
    placements for them, but has not been able to find placements for them. Id. ¶ 121. The State’s
    limits on access to Medical Foster Care also mean that families of Institutionalized Children who
    are unable to care for them in their own homes have not been given this option of a non-


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    institutional out-of-home placement for their children. Id. ¶ 123. There are parents of
    Institutionalized Children who, when told about medical foster care, expressed interest in such a
    community placement for their children. Id. ¶ 122.
           Likewise, there are children currently residing in nursing facilities who have been waiting
    for years to receive iBudget waiver services in their communities. At least 19 children who
    currently reside in nursing facilities are on the iBudget waiver waiting list, and most have been
    waiting for years; in the last year, at least one child has died while institutionalized and on the
    waiting list for the waiver—he had been on the waiting list for 13 years. SOMF ¶¶ 124-126.
    Because iBudget is a “Home and Community-Based Services” waiver program, iBudget waiver
    services must be provided in homes and other community settings. 42 C.F.R. § 441.301(c)(4),
    (5). This means that if an Institutionalized Child is on the waiting list, their parent or guardian
    has requested that the State serve the child in the community, and the State has determined the
    child is eligible to receive services in the community. SOMF ¶ 82; see also Decl. ¶ 20; Ex. 17 at
    357-364. The waiting list is thus a barrier to these children’s receipt of needed services in the
    community rather than in a nursing facility. For At-Risk Children, the waiting list similarly
    serves as a barrier to receipt of services in the community that they cannot access through other
    State programs. Decl. ¶ 20; Ex. 17 at 357-364; see also Decl. ¶ 9; Ex. 6 at 15-16. For example,
    one 17-year-old child has been on the waiting list for iBudget waiver services since he was 6
    years old. Decl. ¶ 20; Ex. 17 at 358. When the family was nearly evicted, they attempted to
    secure crisis enrollment for their child, but were unsuccessful; meanwhile, the family faces
    significant PDN staffing gaps. Id.
           Finally, families of Institutionalized Children have expressed that if they had been made
    aware of community-based service options, or had been provided with assistance in addressing
    barriers to discharge, they could have avoided their children’s nursing facility placement. One
    mother testified: “I wish we would have known that we – that she didn’t have to go to the
    nursing home in the first place. [. . . .] No one really sat us down and explained here are your
    options, your real options. The state can provide this. The insurance can do that. That really
    wasn’t our experience.” Decl. ¶ 46; Ex. 3 at 45:14-16, 50:19-22. She testified about her years-
    long effort, once she became aware of the option, to bring her child home from the nursing
    facility: “Bringing [my child] home became a project and every milestone that we reached was
    out of my effort . . . months, weeks would go by without a text message, without a phone call, no

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    follow-up, and it’s still that way. That hasn’t changed. [. . . .] Parents shouldn’t have to look for
    so much information. If it’s out there, it shouldn’t be made harder. We already have enough
    challenges.” Id. at 36:14-37:3, 51:16-18; SOMF ¶ 118. Care coordination also fails to address
    the barriers that families of At-Risk Children face in accessing approved services for their
    children, such as inability to obtain all authorized in-home nursing, and in some instances, care
    coordinators have suggested the families consider nursing facility placement due to these barriers
    SOMF ¶ 129; Decl. ¶ 51; Ex. 48 at 37-38; Decl. ¶ 44; Ex. 41 at 41:15-17.
           B. Nursing Facilities Are Segregated Settings
           The nursing facilities that serve children in Florida, like nursing facilities generally, are
    hospital-like settings in which children live separately from their families and others without
    disabilities who are not paid staff. See, e.g., Decl. ¶ 4; Ex. 1 at 32-34. Children living in nursing
    facilities lack the opportunity to be with their families on a daily basis, and fully develop parental
    and sibling relationships. See, e.g., SOMF ¶ 127. They also lack opportunities for social
    interaction with peers and adults without disabilities. Id. One teenager testified about her years
    living in a nursing facility: “I was there by myself for four years without a family. I didn’t see
    them. I only see them for a limited amount of time and then I remember seeing them two weeks
    later.” Decl. ¶ 47; Ex. 44 at 14:11-14. On spending the Christmas holiday in a nursing facility:
    “You had no family. It was spent in isolation.” Id. at 11:5-6.
           C. The Institutionalized and At-Risk Children Can Live in the Community with
              Appropriate Services and Supports
           The Institutionalized Children could live at home or in other community-based settings
    with sufficient services and supports. The United States’ experts, pediatricians who specialize in
    the care of children with complex medical needs over the long term, conducted a review of the
    medical records of all Institutionalized Children and determined that there is nothing about the
    children’s medical conditions, needs, or disabilities that necessitates institutionalization. Rather,
    the Institutionalized Children could live at home if provided with adequate services and supports,
    such as in-home nursing and durable medical equipment, that are typically made available in
    homes and communities across the country. SOMF ¶¶ 131-132. This fact is undisputed. See,
    e.g., Decl. ¶ 13; Ex. 10 at 17, 18 (stating that “[t]here is no doubt that anyone can be cared for in
    the community with sufficient resources,” and “I do not categorically disagree that care for these




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    140 of the neediest of Florida’s children with complex medical needs CAN be provided in family
    and similar community settings”).
             Confirming their appropriateness for community living, some of the Institutionalized
    Children have been deemed eligible for community-based services, such as PDN, the iBudget
    waiver program, and Medical Foster Care. SOMF ¶¶ 134-135; see also Decl. ¶ 20; Ex. 17 at 22–
    161, 356–64. Some Institutionalized Children also lived at home prior to nursing facility
    admission. SOMF ¶ 133. Likewise, the At-Risk Children have been deemed eligible for
    community-based services. Id. ¶ 135.
             This overlap in eligibility determinations for nursing facility services and home and
    community-based services is not surprising, as the level (or intensity) of care provided in nursing
    facilities does not materially differ from that provided through home and community-based
    services. Decl. ¶ 5; Ex. 2 at 10-13, Decl. ¶ 4; Ex. 1 at 26, 27-28; Decl. ¶ 6; Ex. 3 at 10, 17.) And
    the medical criteria for nursing facility admission and receipt of PDN services is similar. SOMF
    ¶ 136.
             D. Children’s Families Do Not Oppose Community Living
             Families of the Institutionalized Children overwhelmingly are not opposed to community
    living for their children. The United States’ experts interviewed 44 families of 45
    Institutionalized Children to determine whether they were opposed or not opposed to community
    living for their children. They identified themes expressed by the families throughout the
    interviews. Specifically, there were families who were actively working to try to bring their
    children home from the nursing facilities; families who expressed a preference for their children
    to discharge to home but felt appropriate home and community-based services were not
    sufficiently available to make this preference a reality; families who were not opposed to their
    children transitioning to a community-based setting other than their own homes (such as a
    medical foster care-type setting); and one family that was opposed to transition. SOMF ¶¶ 137-
    141.
             Using qualitative research methods generally accepted and preferred in this type of health
    care research, the United States’ experts concluded that the same themes would emerge in
    interviews with additional families of Institutionalized Children. Decl. ¶ 4; Ex. 1 at 39-44; Decl.
    ¶ 5; Ex. 2 at 9-10; Decl. ¶ 6; Ex. 3 at 10-11; Decl. ¶ 7; Ex. 4 at 98:15-99:16.



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           The documentary record evidence confirms that additional families do not oppose
    community placement for their Institutionalized Children. Some have expressed to nursing
    facility staff that their goal is to discharge their children home; some have expressed interest in
    bringing their children home in the future; some have expressed that they would like to transition
    their children home but cannot due to barriers such as an inability to obtain home nursing in their
    area. SOMF ¶¶ 139-140.
           There is no dispute that parents and guardians of Institutionalized Children want to bring
    their children home and are interested in community services and alternative placements.
    Indeed, the State later deposed nine of the 44 families the United States’ experts interviewed, and
    no family’s deposition testimony differed from what they told the United States’ experts in
    interviews. E.g., compare Decl. ¶ 43; Ex. 40 at 26:24- 28:7 (“Let me ask a final question. At
    least with respect to your current situation, your current work situation, housing situation, is it
    accurate to say that you are currently opposed to [your child] coming to your home? A. No. Q.
    Okay. So you would accept her in your home and you’d prefer that even under your current
    circumstances? A. Yeah. As long as I was offered what I should be offered to care for her,
    absolutely.”) with Decl. ¶ 93; Ex. 90 (finding parent does not oppose community placement),
    and compare Decl. ¶ 45; Ex. 42 at 20:6- 15:14-18; 29:8-20 with Decl. ¶ 84; Ex. 81.
           Finally, families of At-Risk Children desire that their children remain in their homes with
    them. SOMF ¶ 142; e.g., Decl. ¶ 51; Ex. 48 at 37:4-6, 80:2-4 (“That’s [the idea of placing her
    child in a nursing facility] just devastating to me. It’s terrifying. [My daughter] would not be the
    child she is today if she had been in a home before this stage.” “It’s [placing her child outside
    her home] not something I want to think about. And I hope I’m never forced to do that. I’m just
    praying that a nurse comes through.”); Decl. ¶ 44; Ex. 41 at 38:2-7, 41:15-17 (“People think that
    because you have a disabled child or that, you know, and they see me tired or exhausted or they
    see me frustrated or whatever, that their solution is put him away. And that’s not going to
    happen. As long as I got breath in me, that will never happen.” “Yes, one of the [managed care
    plan care] coordinator one time recommended or suggested that maybe that [a nursing facility]
    would be an ideal place for him, and I said no.”)
           E. The State Can Make Modest Changes to Its Administration of Its Services to
              Adequately Serve Children with Complex Medical Needs in the Community




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           The State can modify existing services and programs that would enable the
    Institutionalized and At-Risk Children to access needed services in their homes and
    communities. The State has the existing service framework to provide services in the most
    integrated setting appropriate (Decl. ¶ 9; Ex. 6 at 16; Decl. ¶ 14; Ex. 11 at 8-12), though it has no
    specific or measurable goals or benchmarks for addressing unnecessary institutionalization of
    children in nursing facilities. Decl. ¶ 19; Ex. 16 at 8-9. The State merely needs to expand the
    availability of those services and programs in order to avoid unnecessary segregation and risk
    thereof. Decl. ¶ 9; Ex. 6 at 2, 9. There is no evidence in the record suggesting that making the
    modifications described below would be infeasible or so expensive as to fundamentally alter its
    service system. See Decl. ¶ 19; Ex. 16 at 1-3; see generally Decl. ¶ 14; Ex. 11.
           First, the State can expand availability of PDN. The State has acknowledged that both
    reimbursement rates paid to the home health agencies by the State and by managed care plans
    affect whether those agencies are able to provide authorized services. SOMF ¶¶ 79-80. The
    State could increase reimbursement by, for example, requiring managed care plans to meet a
    specific minimum reimbursement standard for PDN that is determined through analysis of unmet
    need for PDN and current payment rates. Decl. ¶ 9; Ex. 6 at 17, 18. In addition, the State can
    take steps to ensure that the network of home health agencies that provide PDN is adequate to
    prevent needless institutionalization of children with medical complexity by setting a PDN-
    specific standard that managed care plans must meet and that is based on demonstrated need for
    PDN across geographic areas of the state. Id. Currently, plans are not required under their
    contracts to meet a PDN-specific network adequacy standard or specifically to ensure that
    children with complex medical needs receive PDN when needed to prevent institutionalization.
    Decl. ¶ 66; Ex. 63 at FL11380193.
           Second, the State can ensure Medical Foster Care service capacity. The State is already
    responsible for Medical Foster Care provider recruitment, and though there are approximately
    180 vacant Medical Foster Care beds, there is still consistently a waiting list for the service. The
    State must better target its recruitment efforts to the needs of the children who are waiting for the
    service. Decl. ¶ 9; Ex. 6 at 19. In addition, the State could provide broader access to Medical
    Foster Care to children not in the custody of the State if Medical Foster Care was offered as a
    community-based service through its Medicaid program. Id. at 19-20.



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           Third, the State could address the barrier to accessing the iBudget waiver that children
    with complex medical needs face by both increasing the number of waiver slots by the number of
    children with complex medical needs who meet the criteria for waiver enrollment and need
    waiver services to avoid institutionalization, and by managing its waiting list to ensure that
    Institutionalized and At-Risk Children are not relegated only to the lowest priority tier, which is
    reserved for individuals under 21 years old, when they could be placed on a higher priority tier.
    Id. at 21-22.
           Finally, the State could utilize its existing programs and mechanisms, and increase
    monitoring and oversight, to ensure that families are provided with adequate information about
    community service options and adequate assistance in obtaining needed services. The State
    could utilize its CMAT program, consistent with its own written program procedures, to provide
    families with individualized information about community service options that are alternatives to
    nursing facility placement. Decl. ¶ 58; Ex. 55 at FL12199328. Moreover, it could, consistent
    with its existing obligations in administering the state Medicaid program, require plans to submit
    usable reporting that would enable systematic oversight of plans’ provision of services to
    children with complex medical needs, including care coordination and PDN, and it could use
    existing accountability mechanisms (such as sanctions) to ensure compliance with managed care
    plan contractual requirements. Decl. ¶ 9; Ex. 6 at 20-24; see Decl. ¶ 14; Ex. 11 at 24.
                                       PROCEDURAL HISTORY
           After receiving complaints of disability discrimination, the United States initiated an
    investigation in December 2011. It found that the State was unnecessarily segregating children
    with complex medical needs in nursing facilities, and placing other children at serious risk of
    unnecessary segregation. Following attempts to obtain a resolution with the State, the United
    States filed this lawsuit in July 2013. After three years of discovery, and shortly before trial was
    to begin, this Court issued a sua sponte order dismissing the United States’ claim on the basis
    that Title II does not authorize the United States to bring suit. On appeal, the Eleventh Circuit
    reversed and remanded. United States v. Florida, 938 F.3d 1221 (11th Cir. 2019), cert. denied,
    143 S. Ct. 89 (2022).
           On remand, this Court reopened discovery, and the United States filed an amended
    complaint (D.E. 700). Fact discovery closed on January 13, 2023, and expert discovery closed



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    February 15, 2023 (D.E. 730). The parties exchanged well over a million pages of document and
    written discovery, took a total of 40 fact depositions, and served 14 expert reports.
                                              ARGUMENT
    I.     Summary Judgment Standard
           Summary judgment must be granted if “there is no genuine dispute as to any material fact
    and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); Celotex Corp.
    v. Catrett, 477 U.S. 317, 322 (1986). “Only disputes over facts that might affect the outcome of
    the suit under the governing law will properly preclude the entry of summary judgment.”
    Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); see Hickson Corp. v. N. Crossarm
    Co., 357 F.3d 1256, 1259-60 (11th Cir. 2004). If the moving party presents a properly supported
    motion for summary judgment, the non-moving party cannot rely on a “mere ‘scintilla’ of
    evidence” supporting its position to avoid summary judgment; nor can it rely on conjecture or
    unsupported assertions. Anderson, 477 U.S. at 251; see Mayfield v. Patterson Pump Co., 101
    F.3d 1371, 1376 (11th Cir. 1996). Rather, the non-moving party must present admissible
    evidence sufficient to support a verdict in its favor. Anderson, 477 U.S. at 249. For issues on
    which the nonmoving party has the burden of proof at trial, the moving party may show that
    there is an absence of evidence to support the nonmoving party’s case. Celotex, 477 U.S. at 325;
    Varnedoe v. Postmaster Gen., No. 21-11186, 2022 WL 35614, at *2 (11th Cir. Jan. 4, 2022).
    II.    Legal Framework
           Congress enacted the ADA to “provide a clear and comprehensive national mandate for
    the elimination of discrimination against individuals with disabilities.” 42 U.S.C. § 12101(b)(1).
    This “broad mandate” of “comprehensive character” has a “sweeping purpose,” which is to
    “eliminate discrimination against disabled individuals, and to integrate them into the economic
    and social mainstream of American life.” PGA Tour, Inc. v. Martin, 532 U.S. 661, 675 (2001)
    (quotation marks and citation omitted).
           Title II of the ADA prohibits disability discrimination by state and local governments. 42
    U.S.C. §§ 12132, 12131(1). The statute provides that “no qualified individual with a disability
    shall, by reason of such disability, be excluded from participation in, or be denied the benefits of
    the services, programs, or activities of a public entity, or be subjected to discrimination by any
    such entity.” 42 U.S.C. § 12132.



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           Noting that discrimination “persists in such critical areas as . . . institutionalization, health
    services, . . . and access to public services,” Congress explicitly classified “segregation” as one
    such form of discrimination. 42 U.S.C. §§ 12101(a)(3), 12101(a)(5). Congress recognized in
    statutory findings that “historically, society has tended to isolate and segregate individuals with
    disabilities, and, despite some improvements, such forms of discrimination against individuals
    with disabilities continue to be a serious and pervasive social problem.” Id. § 12101(a)(2).
           In Olmstead v. L.C., the Supreme Court affirmed that Title II prohibits “undue
    institutionalization” as a species of discrimination by state and local governments. 527 U.S. at
    598. Such discrimination is effectuated by the manner in which public entities administer their
    services and programs, requiring people with disabilities “to relinquish participation in
    community life they could enjoy given reasonable modifications.” Id. at 601. The Supreme
    Court explained that its holding “reflects two evident judgments.” Id. at 600. First, “institutional
    placement of persons who can handle and benefit from community settings perpetuates
    unwarranted assumptions that persons so isolated are incapable or unworthy of participating in
    community life.” Id. at 600 (citations omitted). Second, “confinement in an institution severely
    diminishes the everyday life activities of individuals, including family relations, social contacts,
    work options, economic independence, educational advancement, and cultural enrichment.” Id.
    at 601 (citation omitted).
           To avoid this form of discrimination, the integration mandate of the ADA affirmatively
    requires state and local governments to “administer services, programs, and activities in the most
    integrated setting appropriate to the needs of qualified individuals with disabilities.” 28 C.F.R.
    § 35.130(d).
           Where people with disabilities are qualified for state services, and can appropriately be
    served in an integrated setting, they must be afforded the opportunity to be served there absent a
    fundamental alteration. See, e.g., Olmstead, 527 U.S. at 599-603, 607; Brown v. District of
    Columbia, 928 F.3d 1070, 1078 (D.C. Cir. 2019); Frederick L. v. Dep’t of Public Welfare, 364
    F.3d 487, 492 n.4 (3d Cir. 2004); see also, e.g., 28 C.F.R. pt. 35, App. B, at 703 (2021)
    (discussing 28 C.F.R. § 35.130(d), (e)); Haddad v. Arnold, 784 F. Supp. 2d 1284, 1297-98 (M.D.
    Fla. 2010) (plaintiff was likely to succeed on the merits of integration claim because Florida had
    affirmative duty “[t]o avoid the discrimination inherent in the unjustified isolation of disabled
    persons” by making “reasonable modifications to policies, practices, and procedures for services

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    they elect to provide”)); United States v. Mississippi, 400 F. Supp. 3d 546, 554 (S.D. Miss. 2019)
    (states have affirmative obligation to avoid unnecessary institutionalization), appeal pending,
    No. 21-60772 (5th Cir.); Guggenberger v. Minnesota, 198 F. Supp. 3d 973, 1032 (D. Minn.
    2016) (“[T]he alleged discrimination—undue isolation—stems from a failure to satisfy an
    affirmative duty.”).
           Indeed, people with disabilities need not subject themselves to institutionalization in
    order to trigger the integration mandate; such claims are cognizable on behalf of people at
    serious risk of institutionalization as well. See, e.g., Waskul v. Washtenaw Cty. Cmty. Mental
    Health, 979 F.3d 426, 460-62 (6th Cir. 2020); Davis v. Shah, 821 F.3d 231, 262-64 (2d Cir.
    2016); Pashby v. Delia, 709 F.3d 307, 322 (4th Cir. 2013); M.R. v. Dreyfus, 663 F.3d 1100,
    1117-18 (9th Cir. 2011).
    III.   The State Is Violating Title II of the ADA
           The undisputed facts in the record show that the State2 limits access that Institutionalized
    and At-Risk Children have to specific home and community-based services. As a result, families
    have resorted to placing their children in nursing facilities so they can receive needed services.
    As one mother put it, “[w]hen it came down to not having any nursing coverage at all, it was a
    very difficult decision [to place her child in a facility]. Our backs were against the wall.” Decl.
    ¶ 48; Ex. 45 at 31:12-15; supra p. 13; SOMF ¶ 116.
           Parents of At-Risk Children fill in service gaps themselves, their children at risk of
    institutionalization should their families be unable to continue to provide services while also
    working and caring for other family members. One single-parent described her reaction to
    learning that her child would soon not have a nurse to cover her medically necessary night
    nursing shifts: “My reaction is one of panic, fear, because I know what the consequences are of
    not having a nurse . . . It’s exhaustion for me. Fear of losing employment, which, you know, I’m
    the – the sole provider for [my child] and I. I – I have no choice. I have to work. But, again, it’s
    my health that will end up . . . taking its toll because I cannot be awake all day and all night and
    be expected to perform at the level to receive income to support myself and my daughter.” If
    this mother’s child were to lose this authorized, medically necessary nursing care, the child
    “wouldn’t be able to remain with me because I wouldn’t have anybody to care for her while I

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     Defendant, the State of Florida, is a “public entity” within the meaning of the ADA and is thus
    subject to Title II. 42 U.S.C. § 12131(1); Decl. ¶ 16; Ex. 13 at 2.

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    worked. [. . .] I don’t think I should be forced to have my child taken from my care just because I
    . . . have to work.” Decl. ¶ 51; Ex. 48 at 36:5-16; see supra p. 13; SOMF ¶ 117. These are the
    real-world consequences of the State’s failure to provide all authorized, medically necessary
    PDN. The child of the mother quoted above received only 52% of the PDN hours for which she
    was authorized in June 2022. Decl. ¶ 20; Ex. 17 at 31. Hundreds of others are in the same
    situation; according to data reported to the State by its managed care organizations, more than
    500 children received less than 60% of authorized hours as of the end of State Fiscal Year 2021.
    Decl. ¶ 9; Ex. 6, App. IV.
           This is the epitome of discrimination under Title II’s integration mandate. The Supreme
    Court in Olmstead made clear that unnecessary institutionalization is discrimination by reason of
    disability because “[i]n order to receive needed medical services, persons with . . . disabilities
    must, because of those disabilities, relinquish participation in community life they could enjoy
    given reasonable accommodations, while persons without disabilities can receive the medical
    services they need without similar sacrifice.” 527 U.S. at 601; see also, e.g., Fisher v. Okla.
    Health Care Auth., 335 F.3d 1175, 1177-78 (10th Cir. 2003) (state’s cap on prescription
    medications recipients of community services can access may violate integration mandate where
    state does not limit access to medications for nursing facility residents); Townsend v. Quasim,
    328 F.3d 511, 516-20 (9th Cir. 2003) (state policy limiting community-based care to
    categorically needy excluded medically needy). Likewise, the At-Risk Children “have been
    compelled to forgo necessary medical services in order to remain in the community.” Waskul,
    979 F.3d at 461. Institutionalization “could happen at any moment that [their families] are
    unable to sustain” their children’s care. Id.
           Under Title II, public entities must “administer services, programs, and activities in the
    most integrated setting appropriate to the needs of qualified individuals with disabilities.” 28
    C.F.R. § 35.130(d). Interpreting this requirement, the Supreme Court clarified that public
    entities must provide community-based services for persons with disabilities when: (a) they are
    appropriate for community placement, (b) the affected persons do not oppose community
    placement, and (c) community-based services can be reasonably accommodated, taking into
    account the resources available to the public entity and the needs of other persons with
    disabilities. Olmstead, 527 U.S. at 607; see 42 U.S.C. § 12132. A state’s failure to provide
    services in the most integrated setting appropriate is excused only when the state can

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    demonstrate, as an affirmative defense, that the relief sought would result in a “fundamental
    alteration” of the state’s service system. Olmstead, 527 U.S. at 603.
            A. Nursing Facilities Are Segregated Settings
            As a threshold matter, nursing facilities are institutions. See 42 U.S.C. § 1395i-3(a)
    (defining skilled nursing facilities as institutions); see also, e.g., Radaszewski v. Maram, 383
    F.3d 599, 601-02, 610 (7th Cir. 2004) (discussing “an institutional setting—whether it be a
    nursing home facility, a hospital, or another type of care facility”); Fisher, 335 F.3d at 1181-82,
    1184-85 (people at risk of entering nursing facilities were at risk of entering institutions); A.H.R.
    v. Wash. State Health Care Auth., 469 F. Supp. 3d 1018, 1031, 1044 (W.D. Wash. 2016)
    (individual at risk of entry into nursing home as a result of public entity’s failure to ensure that
    all authorized hours of PDN were fulfilled was at risk of unnecessary institutionalization); Cruz
    v. Dudek, No. 10-23048-CIV, 2010 WL 4284955, at *16 (S.D. Fla. Oct. 12, 2010) (noting the
    high expense of providing “institutional care in a nursing home”); Hunter v. Cook, No. 1:08-CV-
    2930-TWT, 2011 WL 4500009, at *5 (N.D. Ga. Sept. 27, 2011) (noting that plaintiffs were not
    “required to segregate themselves by entering an institution”—in this case, a nursing facility—to
    state a Title II claim (quotation omitted)).
            Indeed, living in institutional nursing facilities, the Institutionalized Children’s
    interaction with nondisabled persons is minimal. See 28 C.F.R. pt. 35, App. B at 703 (2021)
    (defining the most integrated setting as “a setting that enables individuals with disabilities to
    interact with nondisabled persons to the fullest extent possible”). The children live separately
    from their families, rarely leave the facilities, and seldom interact with others without disabilities
    who are not paid staff. SOMF ¶ 127. Children living in nursing facilities lack the opportunity to
    be with their families in a home environment, and lack opportunities for social interaction with
    peers and adults without disabilities. Id. One mother, who lives hundreds of miles from her
    child’s nursing facility, testified: “His birthday is coming . . . I will not see him. [. . . ] I’m
    going to send him something. But it’s terrible. And I also worry about the example it sets for
    my other kids, too, to know that they have a brother somewhere else and he is not being
    celebrated in the same way or nurtured in the same way as them.” Decl. ¶ 48; Ex. 45 at 36:1-11.
            B. The Institutionalized and At-Risk Children Can Appropriately Be Served in the
               Community




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           Title II of the ADA provides that “‘qualified individual[s] with a disability’ may not ‘be
    subjected to discrimination.’” Olmstead, 527 U.S. at 602 (quoting 42 U.S.C. § 12132) (alteration
    in original). People with disabilities3 are “qualified” if, “‘with or without reasonable
    modifications to rules, policies, or practices,’” they “‘mee[t] the essential eligibility requirements
    for the receipt of services or the participation in programs or activities provided by a public
    entity.’” Olmstead, 527 U.S. at 602 (quoting 42 U.S.C. § 12131(2)) (alteration in original).
           Under the Supreme Court’s analysis of these statutory provisions, individuals are
    considered “appropriate” for community placement if they could live in the community with
    sufficient services for which they would be eligible. See, e.g., Olmstead, 527 U.S. at 601-02,
    607; Cruz v. Dudek, 2010 WL 4284955, at *13 (discrimination occurred where plaintiffs were
    “able to live in their own home[s] with adequate support services” but could not obtain adequate
    services); Cota v. Maxwell-Jolly, 688 F. Supp. 2d 980, 994 (N.D. Cal. 2010) (appropriateness
    prong satisfied where plaintiffs’ individual plans of care documented their need for specific
    community services that were “critical to their ability to avoid institutionalization”).
           The Institutionalized Children can appropriately be served in the community. As the
    United States’ experts, pediatricians specializing in the care of children with complex medical
    needs in the community in the long term, unanimously found through their review of the medical
    records of all of the Institutionalized Children, each of these children has medical needs that can
    be met with existing community services, such as in-home nursing and durable medical
    equipment. See supra pp. 15-16; SOMF ¶ 131. Indeed, “nothing about their disabilities
    necessitates living in” nursing facilities. Disability Advocates, Inc. v. Paterson, 653 F. Supp. 2d
    184, 256 (E.D.N.Y. 2009), vacated on other grounds sub nom. Disability Advocates, Inc. v. N.Y.
    Coal. for Quality Assisted Living, Inc., 675 F.3d 149 (2d Cir. 2012).
           Moreover, a number of the Institutionalized Children have been deemed eligible for
    community-based services and programs, including PDN, Medical Foster Care, and the iBudget
    waiver, and some lived in the community while receiving PDN prior to nursing facility


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      The Institutionalized and At-Risk Children have disabilities as defined by the ADA. The
    Institutionalized and At-Risk Children are defined as children who have complex medical needs.
    D.E. 700 (Am. Compl.) ¶ 22. Children with complex medical needs are persons with disabilities
    under the ADA because they have medical conditions that substantially limit one or more major
    life activities, including mobility, breathing, eating, and personal care. 42 U.S.C. § 12102(1)-(2);
    Decl. ¶ 4; Ex. 1 at 9-11; Decl. ¶ 5; Ex. 2 at 3-4; Decl. ¶ 6; Ex. 3 at 4-5.
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    admission. See supra p. 16; SOMF ¶¶ 26, 134. By approving and previously allowing receipt of
    community services, “the state’s medical professionals have demonstrated that [community
    treatment] is both appropriate and possible.” See Steimel v. Wernert, 823 F.3d 902, 915-16 (7th
    Cir. 2016); see also Radaszewski v. Maram, 383 F.3d 599, 612-13 (7th Cir. 2004) (explaining
    that the fact that the young adult at risk of institutionalization had lived at home for years
    supported a finding that he could “handle and benefit from” community-based services); A.H.R.,
    469 F. Supp. 3d at 1045 (medically complex infants and toddlers’ authorization to receive PDN
    rendered their family homes the “most integrated setting appropriate” to their needs).
            Likewise, the At-Risk Children already receive services in their communities, and this
    history of community living demonstrates that to continue living at home, with adequate
    services, would be appropriate. See, e.g., Radaszewski, 383 F.3d at 612-13; Townsend, 328 F.3d
    at 516; Cota, 688 F. Supp. 2d at 994.
            The facts in the record demonstrating that the Institutionalized and At-Risk Children can
    live in their homes and communities with sufficient services are not disputed. The State’s
    experts did not review medical records (or any other child-specific facts or data) to determine
    whether any specific Institutionalized Child’s needs could (or could not) be met in the
    community with appropriate services and supports. See generally Decl. ¶ 10; Ex. 7; Decl. ¶ 13;
    Ex. 10. Instead, the State’s experts warn that some children might not be appropriate for
    community placement for potential reasons such as the possibility that their biological parents
    might not be willing or able to care for them in their own homes, or the potential physical
    unsuitability of biological parents’ homes. These hypothetical reasons are, however, irrelevant
    to whether the children’s needs could be met in a community setting, as opposed to a nursing
    facility.
            Even if these hypothetical reasons were facts related to specific Institutionalized
    Children, they would not be material. “Only disputes over facts that might affect the outcome of
    the suit under the governing law will properly preclude the entry of summary judgment.”
    Anderson, 477 U.S. at 248. Facts unrelated to whether an individual “‘meets the essential
    eligibility requirements’ for habilitation in a community-based program” or whether the
    individual can “handle and benefit from community placement” are not relevant to the
    appropriateness inquiry. Olmstead, 527 U.S. at 600-02 (quoting 42 U.S.C. § 12131(2)). Indeed,



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    these hypothetical reasons are not related to the children’s service needs at all, but rather to their
    families or their families’ environments.4
           The State’s experts also suggest that Institutionalized Children may not be appropriate for
    community placement because community services such as PDN may not always be available in
    the amount medically necessary for the child. Decl. ¶ 13; Ex. 10 at 21, 45; see Decl. ¶ 10; Ex. 7
    at 6; Decl. ¶ 12; Ex. 9 at 1-2. But this understanding of the law is exactly backward. See, e.g.,
    Cruz, 2010 WL 4284955, at *13 (discrimination occurred where plaintiffs were “able to live in
    their own home[s] with adequate support services” but could not obtain adequate services). If a
    state’s failure to provide adequate community services could render a person with a disability
    inappropriate for community placement under Olmstead, the integration mandate would be
    meaningless.
           In sum, the undisputed facts show that each of the Institutionalized Children has medical
    needs that can be met with community services; “nothing about [the Institutionalized Children’s]
    disabilities necessitates living in” nursing facilities. Disability Advocates, 653 F. Supp. 2d at
    256. Rather, they could live in the community with sufficient services. Cruz, 2010 WL
    4284955, at *13. Indeed, for some Institutionalized Children, the State has already approved
    their receipt of services in community settings by deeming them eligible for community-based



    4
      Some of these considerations may be relevant to the determination of where a specific child
    should be discharged to, if discharge is what their parent or guardian desires, but this does not
    mean they are relevant to appropriateness, as a child can be served in a community setting that is
    not the home of their biological parents, such as medical foster care settings. However, it should
    be noted that the State’s experts attempt to sow doubt as to children’s appropriateness for
    community placement by suggesting that they may not be adequately cared for if their families
    have low incomes, or if the children have single parents, or parents who lack education or have
    limited English proficiency. Decl. ¶ 10; Ex. 7 at 6. As an initial matter, it is demonstrably false
    that such families cannot care for children with complex medical needs in their homes. Decl. ¶
    11; Ex. 8 at 5-6; see generally Decl. ¶ 51; Ex. 48 (working single mother caring for child with
    complex medical needs experiencing PDN staffing gaps); Decl. ¶ 44; Ex. 41 (single father living
    in a motel room with his child who has complex medical needs and is authorized to receive State
    community services). But it is also nowhere in Olmstead or its progeny that because a person
    with a disability also happens to come from, for example, a home with a single parent or a low-
    income family, that they should be considered inappropriate for community placement. To the
    contrary, Olmstead stands for the opposite proposition: people with disabilities should not have
    to “relinquish participation in community life they could enjoy given reasonable
    accommodations, while persons without disabilities can receive the medical services they need
    without similar sacrifice.” 527 U.S. at 601.
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    services and programs, including PDN, Medical Foster Care, and the iBudget waiver, and by
    providing such services to some prior to nursing facility admission. See, e.g., Steimel, 823 F.3d
    at 915-16.
           C. Parents and Guardians Do Not Oppose Community Placement
           The ADA requires that community-based services be provided to qualified individuals
    with disabilities who do not oppose such services. Olmstead, 527 U.S. at 602, 607 (citing 28
    C.F.R. § 35.130(e)(1), which provides that the ADA does not “require an individual with a
    disability to accept an accommodation . . . which such individual chooses not to accept”); see 42
    U.S.C. § 12201(d).
           The undisputed facts show that, overwhelmingly, the parents and guardians of the
    Institutionalized Children do not oppose community placement.5 Some of the families are
    actively trying to bring their Institutionalized Children home. Indeed, several described feeling
    desperate to be reunited with their children, including one parent who stated, “Pretty much short
    of robbing a bank, we’ll do what we can to bring him home,” Decl. ¶ 5; Ex. 2 at 19, and another
    who said, “There is no way I’m going to leave my baby there.” Decl. ¶ 4; Ex. 1 at 45; see also
    supra pp. 16-17; SOMF ¶ 138. Some families would prefer to have their children home with
    them but are facing barriers to doing so. See, e.g., Decl. ¶ 40; Ex. 37 at 15:1-4 (“Q. And what
    was the catalyst or what – what was the . . . factor or the decision that made you to put [your
    child] at [the facility]? A. Mostly unreliable nursing.”). SOMF ¶ 139. There are other families
    who would not oppose transitioning their children to a community-based setting that is not their
    own home. Id. ¶ 141.
           Further, the parents or guardians of at least 19 children currently living in nursing
    facilities have applied for the iBudget waiver for their children (all of the children are on the
    waiver waiting list, most of them for multiple years). Decl. ¶ 20; Ex. 17 at 357-364. This means
    that these “parents or guardians wished to have their children at home [or in the community],
    took affirmative steps to have their children at home [or in the community], and due to the
    inadequacies of the State’s services, were unable to do so.” See D.E. 768 (Report &
    Recommendation) at 7.



    5
      As discussed above, the record evidence shows that families of At-Risk Children desire that
    their children remain in their homes with them. Supra p. 17; SOMF ¶ 142.
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           The undisputed facts also establish that, with adequate information about community
    service options, adequate discharge planning services, and adequate community-based services
    in place, families of Institutionalized Children could have avoided nursing facility placement for
    their children. SOMF ¶¶ 107-108.
           While there may be some parents of Institutionalized Children who would prefer that
    their children remain in a nursing facility (see Decl. ¶ 4; Ex. 1 at 47; Decl. ¶ 5; Ex. 2 at 17; Decl.
    ¶ 6; Ex. 3 at 13), the United States need not demonstrate that all families of Institutionalized
    Children do not oppose community placement. See 42 U.S.C. § 12201(d); Olmstead, 527 U.S. at
    602. The United States need only demonstrate that there are children residing in nursing
    facilities whose families do not oppose community placement. See Kenneth R. v. Hassan, 293
    F.R.D. 254, 269 (D.N.H. 2013) (certifying class of “unnecessarily institutionalized” individuals
    in integration case where some class members may prefer institutionalization, stating, “the
    existence of preference differences among class members does not change the fact that the
    State’s practices with regard to community services have been shown . . . to affect all class
    members . . . . And, because preferences can change, class members who today might prefer
    institutionalization, can reasonably be thought to also have an interest in the availability of
    community-based treatment options should their preferences change tomorrow”). The
    undisputed facts in the record show that there are many. See, e.g., Decl. ¶ 20; Ex. 17 at 237-306
    (discussing individual children).
           Rather than elucidating facts disputing these findings, the State’s expert suggests that the
    families who wish to have their children home with them but experience barriers to transitioning
    them from nursing facilities, should actually be considered to be opposed to community
    placement. Decl. ¶ 13; Ex. 10 at 17. He also concludes that families’ expressed interest in or
    openness to out-of-home community placements “are not indications of nonopposition.” Id. at
    44. This is a dispute of law, not of fact, and the State is wrong on the law. First, with respect to
    families’ experiencing barriers to discharge, non-opposition can be established by showing that
    individuals likely would not oppose community placement if provided adequate community-
    based services and information about available options. See, e.g., 28 C.F.R. § 35.130(e)(1)
    (“Nothing in this part shall be construed to require an individual with a disability to accept an
    accommodation, aid, service, opportunity, or benefit provided under the ADA or this part which
    such individual chooses not to accept.”); Kenneth R., 293 F.R.D. at 270 n.6 (“[T]he meaningful

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    exercise of a preference will be possible only if an adequate array of community services are
    available…”); see also Disability Advocates, 653 F. Supp. 2d at 263 (people reporting “a
    preference to move out of their adult home is merely ‘a floor’ with regard to who would truly be
    willing to move if given” information and support in making a “true choice”). Second, with
    respect to families who expressed interest in out-of-home community placements, such interest
    in obtaining community-based services instead of institutional, nursing facility care is non-
    opposition. See, e.g., Messier v. Southbury Training Sch., 562 F. Supp. 2d 294, 332-34, 339-42
    (D. Conn. 2008) (finding plaintiffs not opposed to community services where guardians
    expressed “interest” in, or would consider, community placement).6
           In sum, it is undisputed that there are many parents of Institutionalized Children who
    want to bring their children home from nursing facilities, and that many face barriers to doing so,
    and that some families are interested in alternative community placements for their children. All
    of these constitute non-opposition.
           D. The State Can Make Reasonable Modifications to Comply with the ADA
           The final element to demonstrate a violation of the integration mandate is that the State
    can make reasonable modifications to its service system to accommodate placement in the
    community. Olmstead, 527 U.S. at 607. The plaintiff’s prima facie burden of identifying
    reasonable modifications is not a “heavy one.” Henrietta D. v. Bloomberg, 331 F.3d 261, 280
    (2d Cir. 2003) (affirming grant of injunctive relief after bench trial) (citing Borkowski v. Valley
    Cent. Sch. Dist., 63 F.3d 131, 138 (2d Cir. 1995)). The plaintiff need only suggest the existence
    of a plausible accommodation. Id.; see also Frederick L., 364 F.3d at 492 n.4 (in vacatur of
    judgment for defendant after bench trial, explaining that the plaintiff bears the initial burden only
    of “articulating a reasonable accommodation”).
           In short, the United States has proposed the following modifications, which are described
    in more detail supra, pp. 17-19: (1) expanding existing in-home nursing services (including by

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      In addition, the State has an explicit preference for Medical Foster Care placement over
    institutional placement where appropriate. SOMF ¶ 11. The Institutionalized Children in the
    State’s custody have been deemed eligible, and are thus appropriate, for Medical Foster Care.
    Id. ¶ 92. The State is the placement authority for children in its custody. Decl. ¶ 16; Ex. 13 at
    11. As a public entity subject to the obligation to provide services to people with disabilities “in
    the most integrated setting appropriate to their needs,” the State may not “oppose” integrated
    placement where appropriate to the needs of the individual. 42 U.S.C. § 12132; 28 C.F.R. §
    35.130(d).
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    meeting the State’s existing obligation under federal Medicaid law to provide the community-
    based services the Institutionalized and At-Risk Children need to live at home); (2) expanding
    the capacity of the State’s iBudget waiver program to meet the needs of Institutionalized and At-
    Risk Children eligible for that program; (3) enhancing access of Institutionalized and At-Risk
    Children to family-based settings by expanding the capacity and availability of the State’s
    Medical Foster Care program; and (4) providing sufficiently individualized and effective care
    coordination services and assessments to help avoid unnecessary nursing facility placements and
    to help Institutionalized Children transition to the community.
           These types of modifications—namely, expanding existing State services and
    programs—are routinely found to be both sufficient to meet a plaintiff’s burden to articulate a
    plausible modification, and reasonable. See, e.g., Mississippi, 400 F. Supp. 3d at 576 (finding
    provision of community-based services reasonable where United States showed that the state
    “already ha[d] the framework for providing [the] services and [could] more fully utilize and
    expand that framework to make the services truly accessible”); Disability Advocates, Inc. v.
    Paterson (DAI I), 598 F. Supp. 2d 289, 335-36 (E.D.N.Y. 2009) (“Where individuals with
    disabilities seek to receive services in a more integrated setting—and the state already provides
    services to others with disabilities in that setting—assessing and moving the particular plaintiffs
    to that setting, in and of itself, is not a ‘fundamental alteration.’”); cf. Haddad v. Arnold, 784 F.
    Supp. 2d 1284, 1304-05 (M.D. Fla. 2010) (providing a service already in state’s service system
    to additional individuals is not a fundamental alteration).
           Not only do the modifications proposed here merely build on the State’s existing service
    system to “more fully utilize and expand that framework to make the services truly accessible,”
    Mississippi, 400 F. Supp. 3d at 576, but the proposed modifications also comport with Florida’s
    own standards and obligations. For example, the State requires its managed care plans to ensure
    provision of all services deemed medically necessary, including PDN, and requires plans to use
    financial incentives where necessary to meet this obligation. Decl. ¶ 9; Ex. 6 at 17. This is
    consistent with the State’s separate and independent legal obligation under federal Medicaid law
    to provide all medically necessary services to Medicaid-enrolled children. See 42 U.S.C.
    §§1396a(a)(43), 1396d(a), 1396d(r)(5). Modifications that align with the jurisdiction’s own
    stated plans and obligations are reasonable. See, e.g., Henrietta D., 331 F.3d at 280-81
    (upholding as a reasonable modification an order requiring agency to follow existing law and

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    procedures); Messier, 562 F. Supp. 2d at 344-45 (plaintiffs’ requested service expansion, which
    was consistent with defendants’ publicly stated plans, was reasonable). Moreover, because the
    State already must make medically necessary services accessible to all Medicaid-enrolled
    children with medical complexity, 42 U.S.C. §§1396a(a)(43), 1396d(a), 1396d(r)(5), meeting
    this obligation is inherently reasonable.
           A state is excused from having to make reasonable modifications only if it “can
    demonstrate that making the modifications would fundamentally alter the nature of the service,
    program, or activity.” 28 C.F.R. § 35.130(b)(7)(i); see Brown v. District of Columbia, 928 F.3d
    1070, 1077-78 (D.C. Cir. 2019); Frederick L. v. Dep’t of Pub. Welfare (Frederick L. III), 422
    F.3d 151, 156-57 (3d Cir. 2005).
           The United States is not seeking summary judgment on the issue of fundamental
    alteration, for which the State bears the burden of proof, if it asserts such a defense. Frederick L.
    II, 364 F.3d at 492 n.4; see 28 C.F.R. § 35.130(b)(7)(i). However, the United States notes that
    the State does not contend that making the reasonable modifications the United States has
    proposed would be infeasible or so expensive as to fundamentally alter its service system, and
    there are no facts in the record that would support a fundamental alteration defense on this
    ground. Decl. ¶ 19; Ex. 16 at 2. Moreover, there is no evidence in the record establishing that
    the State has a “comprehensive, effectively working plan for placing qualified persons with . . .
    disabilities in less restrictive settings” that the modifications would unduly disrupt. Frederick L.
    III, 422 F.3d at 157. While the State contends that it has a comprehensive, effectively working
    plan, it has admitted that it has no measurable goals or benchmarks for addressing unnecessary
    institutionalization of children in nursing facilities. Decl. ¶ 19; Ex. 16 at 4. The only evidence in
    the record of the State’s supposed plan is its description, in response to an interrogatory
    response, of its existing Medicaid community-based services, and its unsupported assertion that
    its commitment to community integration is medically appropriate, genuine, comprehensive, and
    reasonable. But the State’s “announced commitment” to serving people in their communities is
    an “insufficient guarantor[]” of ADA compliance. It cannot stand in place of “an adequately
    specific comprehensive plan.” See Frederick L. III, 422 F.3d at 158-59. Accordingly, the State
    will not be able to establish that providing community-based services to the Institutionalized and
    At-Risk Children constitutes a fundamental alteration.



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                                             CONCLUSION
           For the above reasons, the United States respectfully requests that the Court enter partial
    summary judgment in favor of the United States, finding that the State of Florida fails to provide
    State services to the Institutionalized and At-Risk Children in the most integrated setting
    appropriate to their needs.




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     Dated: February 15, 2023           Respectfully submitted,


     JUAN ANTONIO GONZALEZ              REBECCA B. BOND
     United States Attorney             Chief
     Southern District of Florida
                                        ANNE S. RAISH
     /s/ Veronica Harrell-James         Principal Deputy Chief
     VERONICA HARRELL-JAMES             ELIZABETH E. McDONALD
     Assistant United States Attorney   Deputy Chief
     Fla. Bar No. 644791
     99 N.E. 4th Street                 /s/ Lindsey Weinstock
     Miami, Florida 33132               JAMES FLETCHER, Bar ID A5502825
     Telephone: (305) 961-9327          H. JUSTIN PARK, Bar ID A5501850
     Facsimile: (305) 530-7139          LINDSEY WEINSTOCK, Bar ID A5502063
     Veronica.Harrell-James@usdoj.gov   Trial Attorneys
                                        Disability Rights Section
                                        Civil Rights Division
                                        U.S. Department of Justice
                                        950 Pennsylvania Avenue, N.W.
                                        Washington, D.C. 20530
                                        Telephone: (202) 616-2221
                                        Facsimile: (202) 307-1197
                                        lindsey.weinstock@usdoj.gov

                                        Counsel for Plaintiff United States of America




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